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     Attorneys for Defendant New York
   9 Marine and General Insurance Company
  10                      UNITED STATES DISTRICT COURT
  11          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13 Travelers Commercial Insurance           Case No. 2:21-cv-5832-GW (PDx)
     Company, a Connecticut Corporation,
  14                                          DECLARATION OF JAMES P.
                  Plaintiff,                  WAGONER IN SUPPORT OF
  15                                          DEFENDANT NEW YORK MARINE
           v.                                 AND GENERAL INSURANCE
  16                                          COMPANY’S MOTION TO
     New York Marine and General              DISMISS FIRST AMENDED
  17 Insurance Company, a New York            COMPLAINT OR,
     Corporation,                             ALTERNATIVELY, PARTIAL
  18                                          MOTION TO DISMISS EQUITABLE
                  Defendant.                  CONTRIBUTION CLAIM AND
  19                                          MOTION FOR MORE DEFINITE
                                              STATEMENT
  20
  21                                          Date:          November 18, 2021
                                              Time:          8:30 a.m.
  22                                          Judge:         Hon. George H. Wu
                                              Crtrm.:        9D
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        DECLARATION OF JAMES P. WAGONER IN SUPPORT OF DEFENDANT NEW YORK MARINE AND
          GENERAL INSURANCE COMPANY’S MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:21-cv-05832-GW-PD Document 17-3 Filed 09/21/21 Page 2 of 4 Page ID #:306




   1          I, James P. Wagoner, do hereby declare as follows:
   2          1.    I am an attorney licensed to practice in the State of California, and am
   3 admitted to practice in the United States District Court for the Central District of
   4 California. I am a member of the firm of McCormick, Barstow, Sheppard, Wayte &
   5 Carruth, LLP, and in that capacity, represent Defendant New York Marine and
   6 General Insurance Company (“New York Marine”) in this action.
   7          2.    The facts herein are known to me and within my personal knowledge and
   8 if called upon to testify thereto, I could and would testify hereto.
   9          3.    This declaration is submitted in support of New York Marine’s Motion
  10 To Dismiss Complaint Or, Alternatively, Partial Motion To Dismiss Equitable
  11 Contribution Claim And Motion For More Definite Statement.
  12          4.    The “reservation of rights issued on October 1, 2019” referenced in
  13 paragraph 11 of Travelers’ First Amended Complaint (Dkt. 15, p. 5) is an October 1,
  14 2019 letter from Mr. Steven Battaglia, a Claims Specialist for ProSight Specialty
  15 Insurance, claims administrator for New York Marine, to New York Marine’s insured,
  16 stating that New York Marine would provide a defense for the insured in connection
  17 with certain litigation through the firm Cameron McEvoy, subject to the reservations
  18 of New York Marine’s rights as set forth therein. A true and correct copy of the
  19 October 1, 2019 letter is filed concurrently herewith as Exhibit A.
  20          5.    The General Liability Policy, “policy no. GL201800012500, effective
  21 July 18, 2018 to July 18, 2019 (the ‘New York Marine Policy’)” referenced at
  22 paragraph 8 of Travelers’ First Amended Complaint (Dkt. 15, p. 4), is a policy of
  23 insurance issued by New York Marine covering its and Travelers’ mutual insured,
  24 and is the policy of insurance under which Travelers’ claims in the present litigation
  25 arise. A true and correct copy of the New York Marine General Liability Policy no.
  26 Gl201800012500 with (premium information and personal address information
  27 redacted) is filed concurrently herewith as Exhibit B.
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           DECLARATION OF JAMES P. WAGONER IN SUPPORT OF DEFENDANT NEW YORK MARINE AND
             GENERAL INSURANCE COMPANY’S MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:21-cv-05832-GW-PD Document 17-3 Filed 09/21/21 Page 3 of 4 Page ID #:307




   1               6.    A true and correct copy of the Complaint from the Underlying Action
   2 referenced in Paragraph 9 of Travelers’ First Amended Complaint (Dkt. 15, p. 4),
   3 which was filed in Fairfax County Circuit Court in Virginia, is filed concurrently
   4 herewith as Exhibit C.
   5               7.    A true and correct copy of the Virginia State Bar’s Standing Committee
   6 on the Unauthorized Practice of Law Legal Ethics Opinion 598 approved by the
   7 Supreme Court of Virginia on March 8, 1985, effective June 1, 1985 filed
   8 concurrently herewith as Exhibit D.
   9               8.    A true and correct copy of the Virginia State Bar’s Standing Committee
  10 on the Unauthorized Practice of Law Legal Ethics Opinion 1536 issued June 22, 1993
  11 filed concurrently herewith as Exhibit E.
  12               9.    The defense firm appointed by New York Marine, Cameron McEvoy
  13 PLLC, consists of 12 attorneys. The firm website identifies the jurisdictions where
  14 each of the attorneys is licensed to practice law, including the District of Columbia
  15 and the States of Virginia, Maryland, New Jersey, New York, as well as various
  16 Federal Courts. As identified by the firm website, none of the attorneys at Cameron
  17 McEvoy PLLC are admitted to practice in the state of California. True and correct
  18 copies of the firm biographies for all 12 of the firm’s attorneys, as last accessed on
  19 August 17, 2021, are filed concurrently herewith as Exhibit F.
  20               I declare under penalty of perjury that the foregoing is true and correct.
  21 Executed on September 21, 2021.
  22
  23                                            By:          /s/ James P. Wagoner
  24                                                          James P. Wagoner
  25   7907438.1


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           DECLARATION OF JAMES P. WAGONER IN SUPPORT OF DEFENDANT NEW YORK MARINE AND
             GENERAL INSURANCE COMPANY’S MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:21-cv-05832-GW-PD Document 17-3 Filed 09/21/21 Page 4 of 4 Page ID #:308




   1                                 PROOF OF SERVICE
   2   Travelers Commercial Insurance Company v. New York Marine and General
                                 Insurance Company
   3                      Case No. 2:21-cv-5832-GW (PDx)
   4 STATE OF CALIFORNIA, COUNTY OF FRESNO
   5       At the time of service, I was over 18 years of age and not a party to this action.
     I am employed in the County of Fresno, State of California. My business address is
   6 7647 North Fresno Street, Fresno, CA 93720.
   7       On September 21, 2021, I served true copies of the following document(s)
     described as DECLARATION OF JAMES P. WAGONER IN SUPPORT OF
   8 DEFENDANT NEW YORK MARINE AND GENERAL INSURANCE
     COMPANY’S MOTION TO DISMISS FIRST AMENDED COMPLAINT OR,
   9 ALTERNATIVELY, PARTIAL MOTION TO DISMISS EQUITABLE
     CONTRIBUTION CLAIM AND MOTION FOR MORE DEFINITE
  10 STATEMENT on the interested parties in this action as follows:
  11 Mark D. Peterson
     Kathleen O. Peterson
  12 Amy Howse
     Cates Peterson LLP
  13 4100 Newport Place, Suite 230
     Newport Beach, CA 92660
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     Email: markpeterson@catespeterson.com
  15 kpeterson@catespeterson.com
     ahowse@catespeterson.com
  16
     Attorneys    for   Plaintiff  Travelers
  17 Commercial Insurance Company
  18
            BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
  19 the document(s) with the Clerk of the Court by using the CM/ECF system.
     Participants in the case who are registered CM/ECF users will be served by the
  20 CM/ECF system. Participants in the case who are not registered CM/ECF users will
     be served by mail or by other means permitted by the court rules.
  21
            I declare under penalty of perjury under the laws of the United States of
  22 America that the foregoing is true and correct and that I am employed in the office of
     a member of the bar of this Court at whose direction the service was made.
  23
            Executed on September 21, 2021, at Fresno, California.
  24
  25
                                                 /s/ Marisela Taylor
  26                                             Marisela Taylor
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                                                4
         DECLARATION OF JAMES P. WAGONER IN SUPPORT OF DEFENDANT NEW YORK MARINE AND
           GENERAL INSURANCE COMPANY’S MOTION TO DISMISS FIRST AMENDED COMPLAINT
